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From:           BULLOCK, CHRISTOPHER S
To:             BOVINO, GREGORY K
Subject:        FW: Bullock Reassignment Request - New Orleans Sector
Date:           Monday, August 6, 2018 2:26:59 PM


I guess Susan is ready…

Chris

From: BULLOCK, SUSAN J
Sent: Friday, August 03, 2018 2:47 PM
To: BULLOCK, CHRISTOPHER S <CHRISTOPHER.S.BULLOCK@CBP.DHS.GOV>
Subject: RE: Bullock Reassignment Request - New Orleans Sector




From: BULLOCK, CHRISTOPHER S
Sent: Tuesday, July 31, 2018 3:22 PM
To: BULLOCK, SUSAN J <SUSAN.J.BULLOCK@cbp.dhs.gov>
Subject: RE: Bullock Reassignment Request - New Orleans Sector




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Chris

From: BULLOCK, CHRISTOPHER S
Sent: Tuesday, July 31, 2018 3:19 PM
To: BULLOCK, SUSAN J <SUSAN.J.BULLOCK@cbp.dhs.gov>
Subject: FW: Bullock Reassignment Request - New Orleans Sector




Chris

From: KERR-BORNE, CAROL
Sent: Tuesday, July 31, 2018 10:37 AM

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To: BULLOCK, CHRISTOPHER S <CHRISTOPHER.S.BULLOCK@CBP.DHS.GOV>
Cc: LEON, MIGUEL A <MIGUEL.A.LEON@cbp.dhs.gov>
Subject: RE: Bullock Reassignment Request - New Orleans Sector

Both Sectors concur. We look forward to working with you!
I will be in touch with MHC and you should see something from them soon.

Regards,

Carol Kerr-Borne | Supervisory Mission Support Specialist | USBP | New Orleans Sector
HQ
423 Canal Street, Ste.409 | New Orleans, LA 70130 | Office: 504-376-2822 | Cell: 504-259-
5455




From: BULLOCK, CHRISTOPHER S
Sent: Tuesday, July 31, 2018 11:52 AM
To: KERR-BORNE, CAROL <CAROL.KERR-BORNE@CBP.DHS.GOV>
Cc: LEON, MIGUEL A <MIGUEL.A.LEON@cbp.dhs.gov>
Subject: RE: Bullock Reassignment Request - New Orleans Sector

Ma’am,

I request an EOD date of October 14, 2018 (PP-21). Thanks again for your assistance!

Chris

From: KERR-BORNE, CAROL
Sent: Tuesday, July 31, 2018 9:20 AM
To: BULLOCK, CHRISTOPHER S <CHRISTOPHER.S.BULLOCK@CBP.DHS.GOV>
Cc: LEON, MIGUEL A <MIGUEL.A.LEON@cbp.dhs.gov>
Subject: RE: Bullock Reassignment Request - New Orleans Sector

Yes, I am back at my desk now.

504-376-2822



From: BULLOCK, CHRISTOPHER S
Sent: Tuesday, July 31, 2018 10:57 AM
To: KERR-BORNE, CAROL <CAROL.KERR-BORNE@CBP.DHS.GOV>
Cc: LEON, MIGUEL A <MIGUEL.A.LEON@cbp.dhs.gov>
Subject: RE: Bullock Reassignment Request - New Orleans Sector

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Ms. Kerr-Borne,

Good day, ma’am. Thanks very much for the information. Can I call you for some clarification?

Chris

From: KERR-BORNE, CAROL
Sent: Tuesday, July 31, 2018 8:53 AM
To: BULLOCK, CHRISTOPHER S <CHRISTOPHER.S.BULLOCK@CBP.DHS.GOV>
Cc: LEON, MIGUEL A <MIGUEL.A.LEON@cbp.dhs.gov>
Subject: FW: Bullock Reassignment Request - New Orleans Sector
Importance: High

Good afternoon Sir,
Please see the attached approved lateral transfer request to the New Orleans Sector.
HQ relo team will be in contact with you once you have given me your preferred EOD date. 334
packet must be approved prior to the end of the Fiscal year.
Please advise on your preferred EOD date and I will request concurrence with Chief Bovino and
Tucson.


Thank you,

Carol Kerr-Borne | Supervisory Mission Support Specialist | USBP | New Orleans Sector
HQ
423 Canal Street, Ste.409 | New Orleans, LA 70130 | Office: 504-376-2822 | Cell: 504-259-
5455


From: BOVINO, GREGORY K
Sent: Tuesday, July 31, 2018 7:31 AM
To: KERR-BORNE, CAROL <CAROL.KERR-BORNE@CBP.DHS.GOV>
Cc: BANCO, JOSEPH A <JOSEPH.A.BANCO@CBP.DHS.GOV>; PEDREGON, TERESA (NLL)
<TERESA.PEDREGON@CBP.DHS.GOV>
Subject: FW: Bullock Reassignment Request - New Orleans Sector

Carol,

Good morning. Chris Bullock is approved for a lateral transfer as of this morning. Please work with
USBP MROD to begin the funding/transfer process. Thank you.

Greg Bovino




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